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                   U.S. District Court for the Northern District Of Illinois
                                 Attorney Appearance Form


Case Title: Caitlin Schlorff v.                            Case Number: 1:19-cv-07714
            Midwest Orthopaedic
            Consultants, S.C.
An appearance is hereby filed by the undersigned as attorney for:
Midwest Orthopaedic Consultants, S.C.
Attorney name (type or print): Karen N. Arenas

Firm: Wilson, Elser, Moskowitz, Edelman & Dicker, LLP

Street address: 55 W. Monroe St., Suite 3800

City/State/Zip: Chicago, IL 60603

Bar ID Number: 6325514                                     Telephone Number: (312) 704-0550
(See item 3 in instructions)

Email Address: karen.arenas@wilsonelser.com

Are you acting as lead counsel in this case?                                         Yes       ✔ No
Are you acting as local counsel in this case?                                        Yes       ✔ No
Are you a member of the court’s trial bar?                                      ✔ Yes              No

If this case reaches trial, will you act as the trial attorney?                      Yes       ✔ No
If this is a criminal case, check your status.                        Retained Counsel
                                                                      Appointed Counsel
                                                                      If appointed counsel, are you
                                                                      a
                                                                          Federal Defender
                                              CJA Panel Attorney
______________________________________________________________________
In order to appear before this Court an attorney must either be a member in good standing of this Court’s
general bar or be granted leave to appear pro hac vice as provided for by local rules 83.12 through 83.14.
I declare under penalty of perjury that the foregoing is true and correct. Under 28 U.S.C.§1746, this
statement under perjury has the same force and effect as a sworn statement made under oath.

Executed on February 5, 2020

Attorney signature:            S/ Karen N. Arenas
                               (Use electronic signature if the appearance form is filed electronically.)
                                                                                               Revised 8/1/2015
